                                  UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                                         DURHAM DIVISION
                                    CIVIL ACTION NO. 1:14-CV-386

KISHA GORHAM, individually, and in her                 )
capacity as General Guardian for and on behalf of      )
ANTHONY GORHAM, JR, and in her capacity                )
as Guardian Ad Litem for and on behalf of J. H.        )
(a minor); and SHYKEMA DEMPSEY,                        )
                                                       )
                                                                       DEFENDANT FAMILY
         Plaintiffs,                                   )
                                                                    ATTRACTIONS AMUSEMENT,
                                                       )
                                                                       L.L.C.'S MOTION FOR
                           v.                          )
                                                                     EXTENSION OF TIME TO
                                                       )
                                                                     RESPOND TO PLAINTIFFS'
AMUSEMENTS OF ROCHESTER, INC,                          )
                                                                            COMPLAINT
d/b/a POWERS GREAT AMERICAN                            )
MIDWAYS, FAMILY ATTRACTIONS                            )
AMUSEMENT, L.L.C., JOSHUA GENE                         )
MACARONI and TIMOTHY DWAYNE                            )
TUTTERROW,                                             )
                                                       )
         Defendants.                                   )
                                                       )

        COMES NOW Defendant Family Attractions Amusement, L.L.C. ("Family Attractions"), by and

through undersigned counsel, pursuant to Local Rule 6.1, and respectfully moves this Honorable Court for an

Order extending its deadline to respond to the Plaintiffs' Complaint for thirty (30) days through and including

June 16, 2014. In support of this Motion, Family Attractions shows the following:

        1.          The Plaintiffs filed this action in the Superior Court of Durham County, North Carolina

against the Defendants on April 10, 2014.

        2.          Family Attractions was served with the Summons and Complaint on April 12, 2014.

        3.          Family Attractions, with the consent of all other Defendants, timely removed this action to

Federal Court on May 9, 2014, pursuant to 28 U.S.C. §1441(b).

        4.          Family Attractions' responsive pleading is due on May 16, 2014, pursuant to Fed. R. Civ.

Pro. 81(c)(2)(C).

        5.          Family Attractions requires an extension of time to respond to the Plaintiffs' Complaint so

that it can properly evaluate its defenses and, if necessary, prepare the appropriate motions and memoranda

in support.




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        6.       Family Attractions has not requested any previous time extensions in this matter from this

Honorable Court.

        7.       Counsel for the Plaintiffs has stated that he consents to this motion.

        8.       Family Attractions submits that good cause exists to grant its Motion, as it is made not for

the purpose of undue delay but for the purpose of determining whether appropriate motions and supporting

memoranda should be filed.

        WHEREFORE, Defendant Family Attractions Amusement, L.L.C. requests that its Motion for

Extension of Time to Respond to the Plaintiffs' Complaint be GRANTED and that this Honorable Court

enter an ORDER permitting Family Attractions to respond to the Plaintiff's Complaint on or before June 16,

2014.

Respectfully submitted, this the 14th day of May, 2014.




                                                   /s/ Gregory W. Brown
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                                       CERTIFICATE OF SERVICE

        This undersigned hereby certifies that on May 14, 2014, the foregoing DEFENDANT FAMILY
ATTRACTIONS AMUSEMENT, L.L.C.'S MOTION FOR EXTENSION OF TIME TO
RESPOND TO PLAINTIFFS' COMPLAINT was filed electronically via the Court's CM/ECF filing and
served on all counsel of record as follows:

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                                                     /s/ Gregory W. Brown
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